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EXHIBIT B
TO CASE MANAGEMENT ORDER

Middle District of Alabama
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Alabama Forest Products industry Workmen’s Compensation Self-Insurer’s Fund y. Pfizer, Inc.,
et al.
C.A. No. 04-711
Southern District of Alabama
pomiern Pistrict of Alabama
Nancy Coleman, et al. y. Pfizer, Inc., et al.
C.A. No. 04-463
Eastern District of Florida
Ana Medero, et al. v. Pfizer, Inc., et al.
C.A, No. 04-22228
Northern District of linois
Allied Services Division Welfare Fund v. Pfizer, Inc., et al.
C.A. No. 04-4467
Eastern District of Louisiana
aiatern i istrict of Louisiana

Linda Rizzo v. Pfizer, Inc., et al
C.A. No. 04-1735

Tracey Lynn Robichaux, et al. vy. Pfizer, Inc.
C.A. No. 04-2087

Louisiana Health Service Indemnity Co. v. Pfizer, Inc., et al
C.A. No. 04-2509

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Northern District of Mississi i
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Mary Cooper, et al. y. Pfizer, Inc.
C.A. No. 04-255

Leroy Anderson, et al. y. Pfizer, Inc., et al.
C.A, No, 04-275

District of New Jersey

Steven Kail, et ai. v. Pfizer, Inc., et al.
C.A. No. 04-4236

International Union of Operating Engineers Local No. 68 Welfare Fund v. Pfizer, Inc., et al
C.A. No. 04-4497

Alaska Electrical Pension Fund v. Pfizer, Inc., et al.
C.A. No. 4593

Eastern District of Oklahoma
Sean District of Oklahoma

Jerry Hollaway, et al. y. Pfizer, Inc., et al.
C.A. No. 04-375

Eastern District of Tennessee
aootern Mistrict of Tennessee

Bauda V.L. Sutton v. Pfizer, Inc., et al
C.A. No, 04-337

Eastern District of Texas
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Linda Barker vy. Pfizer, Inc., et ai.
C.A. No. 04-309

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